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 5
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 6
 7                     IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        ) Cr. No. 08-292 LKK
10           Plaintiff,                 )
                                        ) STIPULATION AND ORDER
11      v.                              ) CONTINUING SENTENCING
                                        ) (December 14, 2010)
12   NARCISCO MARTINEZ                  )
                                        )
13                                      )
             Defendant,                 )
14   ___________________________________)
15
      This case is now set for sentencing on No. 23, 2010.          The
16
     U.S. Attorney is not available and needs to file a request with
17
     the Court regarding this case.      The parties therefore
18
     stipulate sentencing be reset for December 14, 2010 and request the
19
     Court so order.
20
     Dated Nov. 22, 2010
21
22       /S/JASON HITT                         /S/ J TONEY
           Jason Hitt                              J. Toney
23        Assistant U.S. Attorney              Attorney for Defendant
24
25
     SO ORDERED:
26
     Dated: November 22, 2010
27
28                                         1
